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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
__________________________________________
                                             )
PFLAG, INC., et al.,                         )
                                             )
                              Plaintiffs,    )
                                             )
                      v.                     )    Civil Action No. 25-cv-337
                                             )
DONALD J. TRUMP, in his official capacity as )
President of the United States, et al.,      )
                                             )
                              Defendants.    )
__________________________________________)


       ORDER ON DEFENDANTS’ CONDITIONAL MOTION TO CLARIFY
                  TEMPORARY RESTRAINING ORDER

       This matter is before the Court on Defendants’ Conditional Motion to Clarify

Temporary Restraining Order, ECF 63. The Motion is GRANTED. Consistent with

Defendants’ understanding, the “agencies” described in the third paragraph of the temporary

restraining order, ECF No. 61, are limited to Defendant U.S. Department of Health and

Human Services and all of its sub-agencies, including, but not limited to, Defendant Health

Resources and Services Administration (HRSA), and Defendant National Institutes of

Health (NIH), as well as Defendant National Science Foundation (NSF).

       Dated: February 18, 2025

                                                       /s/
                                                     ______________________________
                                                     Brendan A. Hurson
                                                     United States District Judge




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